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1           LAW OFFICES OF
           WING & PARISI
2     A PROFESSIONAL CORPORATION
           1101 E STREET
3      SACRAMENTO, CA 95814
                      441-4888
                 State Bar #063214
4

5    ATTORNEYS FOR:            Defendant
6

7

8                                     IN THE UNITED STATES DISTRICT COURT

9                                    FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA                         No. 2:10 Cr.-305 LKK

12                                      Plaintiff,     ORDER RE WAIVER OF
                                                       APPEARANCE
13          v.

14    SARA SHIRAZI                                     DATE: N/A
                                                       TIME: N/A
15                                    Defendant,
                                                       Courtroom: Hon. Lawrence K. Karlton
16

17

18           Defendant, SARA SHIRAZI, hereby waives the right to be present in open

19   Court upon the hearing of any motion or other proceeding in this case, including when the

20   case is set for trial, except upon arraignment, plea, empanelment of a jury and imposition of

21   sentence.

22           Defendant hereby requests the Court to proceed during every absence of hers which

23   the Court may permit pursuant to this waiver; agrees that her interests will be deemed

24   representated at all times by the presence of her attorney, the same as if Defendant were

25   personally present.

26                                                     //

27                                                     //

28                                                     //


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                        Case 2:10-cr-00305-MCE Document 103 Filed 02/26/14 Page 2 of 2


              1
                          Further, Defendant agrees to be present in Court ready for trial on any day whichthe
              2
                  Court may fix in her absence.
              3

              4
                          Dated: May 10, 2011
              5

              6                                                   By:/S/ Sara Shirazi (original signature
                                                                  Retained by attorney Christopher Wing)
              7

              8

              9
                          Dated: May 10, 2011
            10

            11                                                    By: /s/ Christopher H. Wing
            12                                                    Christopher H. Wing
                                                                  Attorney for Defendant SARA SHIRAZI
            13

            14
                          IT IS SO ORDERED.
            15

            16
                          Dated: February 25, 2014
            17

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LAW OFFICES OF
WING & PARISI
SACRAMENTO, CA.   ///
                                                                 2
